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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   JASON RUSSELL LOPEZ,                              Case No. 2:24-cv-01721-JDP (SS)
12                      Plaintiff,                     ORDER
13          v.                                         GRANTING PLAINTIFF’S MOTION TO
                                                       PROCEED IN FORMA PAUPERIS
14   MARTIN O’MALLEY, Commissioner of
     Social Security,                                  ECF No. 2
15
                        Defendant.
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18          Plaintiff has requested authority under 28 U.S.C. § 1915 to proceed in forma pauperis and
19   has submitted the required affidavit demonstrating that plaintiff is unable either to prepay fees
20   and costs or to give security for them. ECF No. 2. The court will therefore grant plaintiff’s
21   motion to proceed in forma pauperis and direct service of the complaint.
22          Accordingly, it is hereby ORDERED that:
23          1. Plaintiff’s motion to proceed in forma pauperis, ECF No. 2, is granted.
24          2. The Clerk of Court is directed to issue process and to serve upon plaintiff the
25   undersigned’s scheduling order and Order re Consent or Request for Reassignment for social
26   security cases.
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        Case 2:24-cv-01721-JDP Document 3 Filed 06/21/24 Page 2 of 2


 1            3. Service on defendant shall proceed under the court’s e-service program. Once a

 2   summons is issued, the Clerk of Court shall deliver to the Commissioner of Social Security

 3   Administration and the United States Attorney’s Office at their designated email addresses a

 4   notice of electronic filing of the action along with the summons and complaint. The court has

 5   been informed that the Commissioner has agreed not to raise a defense of insufficient service of

 6   process if provided with notice of a complaint as detailed in this order. This order is not intended

 7   to prevent parties from making any other motions that are appropriate under the Federal Rules of

 8   Civil Procedure.

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     IT IS SO ORDERED.
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     Dated:      June 21, 2024
12                                                        JEREMY D. PETERSON
                                                          UNITED STATES MAGISTRATE JUDGE
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